Change Endorsement

Policy Change No. 21-Cancl-01-2016-13

Named Insured: One South Place LP

Policy Number: HEICL-205802-163574-2016
Policy Effective Date: 09/20/2016 - 09/20/2017
Issue Date: 05/19/2017

Effective From: 09/30/2016 at the time of day the policy becomes effective.

The Insurance is Amended as follows:

In consideration of a return premium of $-3,278, this policy is gh AM on September 30,

2016.

NAME AND ADDRESS OF AGENT OR BROKER: C COUNTERSIGNED BY:

Housing Insurance Services, inc. >
189 Commerce Court * C) Daun. Marebh
Cheshire, CT 06410- S

ce

Authorized Representative

Date: 05/19/2017

EXHIBIT

HACP 07 09 06 PHA ID: 205802

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a. H Al G r ou 189 Commerce Court 203-272-8220 ar 800-873-0242
~ Pp PO Box 189 fax 203-271-2265
Cheshire, CT 06410-0189 www, housingcenter.com

May 19, 2017
Mr. Michael Kane
Agent
One South Place LP

Wells Fargo Insurance Services of USA, Inc.
10 S. Wacker, 17th Floor
Chicago, IL 60606-

Re: Policy Change - HEIC - Liability Direct Policy # HEICL-29

Dear Mr. Kane,

Enclosed please find Endorsement “O amending the policy as described.

¢

If you have any questions or ortho contact me at (800) 873-0242 extension 436.
Sincerely,

au NareLh.

Laura Masella
Underwriter

Enclosures

HAL Group [189 Corimerce Court, Cheshire, C7 06410 | HAL Group is @ registered trademark for a family of car panies which
includes Housing Authority Risk Retention Groip, inc.; Housing Authority Property Insurance, A Mutual Corrpany: 4ousing
Ente-prise Insurance Company, Irc.; and Housing Insurance Se-vices, inc. (DBA Housing Insurance Agency Services in NY anc Mh.

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189 Commerce Court
PO Box 189
Cheshire, CT 06410-0189
800-873-0242

HAt Group® | 189 Commerce Court, Cheshire, CT 06410 | HA! Group is a registered trademark for a family of companies which includes
Housing Authority Risk Retention Group, inc.; Housing Authority Property Insurance, A Mutual Company; Housing Enterprise Insurance
Company, Inc,; Housing Insurance Services, Inc. (DBA Housing insurance Agency Services in NY and Mi); Housing Specialty Insurance
Company, Inc.

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DECLARATIONS

Broad Form Coverage

Issue Date: Sep 26, 2016 Policy Number: HEICL-205802-163574-2016
COMPANY AGENT or BROKER

Housing Enterprise Insurance Company, Inc. Housing Insurance Services, Inc.

489 Commerce Court, Cheshire, Connecticut 06410-0189 189 Commerce Court, Cheshire, Connecticut 06410-0189
NAMED INSURED One South Place LP

MAILING ADDRESS 221 Young High Pike

Knoxville TN 37920-7920
POLICY PERIOD: FROM 09/20/2016 TO 09/20/2017 12:01 A.M. STANDARD TIME
AT YOUR MAILING ADDRESS
The Insured is: Individual | X | Partnership Joint Venture Limited Liability Company

Organization (other than a partnership, joint venture, or limited liability company)

IN RETURN FOR YOUR PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
AGREE TO PROVIDE THE COMMERCIAL LIABILITY COVERAGE AS DESCRIBED IN THIS POLICY.

Locations

Certified True Copy {1.10

Coverages and Limits Housing Enterprise In
See the LIMITS OF LIABILITY section of this declaration. Company, Inc. :::33#4#:
Underwrite
Manag

FORMS APPLICABLE TO THIS POLICY: See Schedule of Forms Section of this‘ Dec AN

PREMIUM: $3,369 , [; KH

This company has executed this policy, but it is valid only if countersigned by our authorized representative.

Company Officers Signatures: Countessigned 4

President By
Rory — ota enn — 09/26/2016
Secretary Date

HA‘ 001 01 P 10f6
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DECLARATIONS

LIMIITS OF LIABILITY (Broad Form)

Each Occurrence Limit - the total of damages and payments under: $1,000,000

Coverage L - Bodily Injury Liability/Property Damage Liability

Coverage M - Medical Payments $5,000. per person
Coverage N - Products/Completed Work
Coverage O - Fire Legal Liability $100,000. each occurrence

Coverage P - Personal Injury/Advertising Injury Liability - all Personal Injury and $1,000,000
Advertising Injury sustained by one person or organization.

General Aggregate - the sum of all damages and payments during a policy $2,000,000
period under:

Coverage L_ - Bodily Injury Liability/Property Damage Liability
Coverage M - Medical Payments

Coverage O - Fire Legal Liability

Coverage P - Personal Injury/Advertising Injury Liability

Products/Completed Work Hazard Aggregate $2,000,000
Coverage N - Products/Completed Work

If this box is checked, we do NOT provide coverage for Products/Completed Work (Coverage N). The
Products/Completed Work Hazard Aggregate does not apply.

Non-Owned and Hired Auto Liability Coverage subject to Coverage L Occurrence Limit,
not to exceed $1,000,000.

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DECLARATIONS
LOCATIONS, CLASSIFICATIONS AND PREMIUMS
Location Classification Code Rate Exposure Premium
One South Place Parent Building- | 25500 45.43 [24 $1,090
including
1311 Bertie Rand St Products/Completed
Knoxville TN 37920 Work (Rating Basis:
Per unit)
One South Place oa Building- | 25500 45.43 |24 $1,090
including
1311 Bertie Rand St Products/Completed
Knoxville TN 37920 Work (Rating Basis:
Per unit)
One South Place Apartment Building- | 25500 45.43 |24 $1,090

1311 Bertie Rand St
Knoxville TN 37920

including
Products/Completed
Work (Rating Basis:
Per unit)

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DECLARATIONS
Coverage Premium
Non-Owned and Hired Auto Liability $99

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DECLARATIONS
SCHEDULE OF FORMS
Form Number Form Title
HAJA 1004 01 14 Policy Jacket
HAGL 2001 01 09 Commercial Liability Coverage Declaration
CL-100 ED 1.0 Common Policy Conditions
GL-200 ED 1.0 Commercial Liability Coverage (Broad Form Coverage)
GL-122 ED 2.0 Non-Owned Auto Liability Coverage/Hired Auto Liability Coverage
HAGL 2022 12 13 Anti-Stacking Endorsement
CL-300 ED 1.0 Amendatory Endorsement
GL 1020 09 09 Other Insurance Amendment
GL 0996 10 05 Auto and Mobile Equipment Amendments
GL-224 ED 1.0 Liability Coverage - Designated Premises
GL 0950 12 99 Known Injury or Damage Amendments
GL 0260 01 15 Certified Act of Terrorism Exclusion
GL. 0209 10 05 Asbestos Exclusion
GL 0348 06 02 Exclusion - Wet Rot, Dry Rot, Bacteria, Fungi, or Protists
GL 0163 01 08 Exclusion - War and Military Action
GL-894 ED 2.0 Punitive Damages Exclusion
GL-890 ED 1.0 Lead Liability Exclusion
GL 1023 09 08 Exclusion - Communicable Disease
GL 1022 09 09 Information Distribution and Recording Violations Exclusion
CL 0118 01 01 '  Amendatory Endorsement - Tennessee
GL 0718 10 05 Additional Insured - Designated Person or Organization
HAGL. 2001 § of 6

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ase Pe. -CV- -00241- JRG-HBG Document1-3 Filed 06/06/17 pave 8 of 54
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DECLARATIONS

SCHEDULE OF FORMS
POLICYHOLDER NOTICES
*** PLEASE READ THE ENCLOSED IMPORTANT NOTICES ***
HAPN 4030 12 14 Important Notice to Policyholders Producers Compensation Disclosure
HAPN 1408 02 10 Policyholder Notice - Exclusion - Communicable Disease
HAPN 0012 01 15 Notice to Policyholders - Terrorism Insurance Excluded

HAGL 200101 . P
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Ed 1.0

COMMON POLICY CONDITIONS

4. Assignment -- This policy may not be assigned
without our written consent.

. Cancellation - You may cancel this policy by
retuming the policy to us or by giving us written
notice and stating at what future date coverage is to
stop.

We may cancel this policy, or one or more of its
parts, by written notice sent to you at your last
mailing address known to us. If notice of cancellation
is mailed, proof of mailing will be sufficient proof of
notice.

If we cancel this policy for nonpayment of premium,
we will give you notice at least 10 days before the
cancellation is effective. If we cancel this policy for
any other reason, we will give you notice at least 30
days in advance of cancellation. The notice will state
the time that the cancellation is to take effect.

Your retum premium, if any, will be calculated
according to our rules. It will be refunded to you

with the cancellation notice or within a reasonable
time. Payment or tender of the unearned premium is
not a condition of cancellation.

. Change, Modification, or Waiver of Policy Terms

-~ A waiver or change of the terms of this policy must
be issued by us in writing to be valid.

. Inspections -- We have the right, but are not obli-

gated, to inspect your property and operations at any
time. This inspection may be made by us or may be
made on our behalf. An inspection or its resulting
advice or report does not warrant that your property
or operations are safe, healthful, or in compliance
with laws, rules, or regulations. Inspections or reports
are for our benefit only.

. Examination of Books and Records -- We may

examine and audit your books and records that
relate to this policy during the policy period and within
three years after the policy has expired.

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AAIS -- THIS IS ALEGAL CONTRACT -- GL-200
PLEASE READ IT CAREFULLY Ed 1.0

COMMERCIAL LIABILITY COVERAGE
(BROAD FORM COVERAGE)

The following Table of Contents shows how this Commercial Liability Coverage is organized. It will help you locate
particular sections of this form.

TABLE OF CONTENTS
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Definition .....c.ccccsssssesceceseessesescescesecescnnenesesesaraensnensseacenssnsneesensseessensapererraseeunerersescduneussassseseeenseasenareas 2
Principal Coverages
Coverage L — Bodily Injury/Property Damage
Coverage M — Medical Payment .......ccsssesseseeeneeeeeses

Coverage N — Products/Completed Work
Coverage O — Fire Legal Liability

Coverage P — Personal Injury/Advertising Injury ......-sssssssesresesssstesessesteessenecenceseereenenssresenes 5
Supplemental Coverages...........-.scecsssereesscenenesssecensteveasssseesssusesevessnaraeanessarsnennerensaranenssesonsesseavenes 5
Defense Coverage .......cccseeccsssenessscsnstssssnsssrsssuresessesapesesatsnsnecaneonssecusarensatensareccansvsnentarsegsansenegssananes 7

Exclusions ,

Exclusions That Apply To Bodily Injury, Property Damage, Personal Injury, And/Or
Advertising Injury ......-:.scceceesseessesesssssseesssseesssaesesessneeseseseanssnerssssassoenssessnevesnanensneneamsasanseteacarens
Additional Exclusions That Apply Only To Personal Injury And/Or Advertising Injury
Additional Exclusions That Apply Only To Property Damage... ccseceserssescsssereesereeenens
Additional Exclusions That Apply Only To Medical Payments

What Must Be Done In Case Of LOSS .........sscesssessessessosssssversseuesescsssnsnsnssssentenensresnsnscnssensaaasvecvenensaaes 11
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Common Policy Conditions — These are shown on a separate form.

Endorsements may also apply. They are identified on the declarations.
Refer to the Definitions for words that have special meanings. These words are shown in "bold type."

AGREEMENT

Subject to all the terms, and in retum for your payment of the required premium, we provide the Commercial Liability
Coverage described in this policy.

Policy terms that relate to cancellation, changes made to the policy, examination of books and records, inspections
and surveys, and assignment or transfer of rights or duties also apply.

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DEFINITIONS

1.

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The words you and your mean the person, persons
or organization named as the insured on the
declarations.

The words we, us, and our mean the company
providing this coverage.

Advertising injury means injury (other than bodily
injury, property damage, or personal injury)
arising out of one or more of the following offenses:

a. oral or written publication of material:

1) that slanders or
organization;

2) that disparages a person's or organization's
goods, products, or services; or

3) that violates a person's right of privacy.

libels a person. or

b. misappropriation of advertising ideas or style of
doing business.

c, infringement of copyright, title, slogan, trademark,
or trade name.

Auto means a land motor vehicle, a trailer, or a
semitrailer which is designed for use on public
roads.

Auto includes attached machinery and equipment.
Basic territory means the United States of America,

its territories and possessions, Canada, and Puerto
Rico,

Bodily injury means bodily harm, sickness, or

disease sustained by a person and includes required
care and loss of services. Bodily injury includes
death that results from bodily harm, sickness, or
disease. Bodily injury does not include mental or
emotional injury, suffering, or distress that does not
result from a physical injury.

Coverage territory means:
a. the basic territory;

b. international waters or airspace, only if the bodily
injury, property damage, personal injury, or
advertising injury occurs in the course of travel
to or from the basic territory;

c. the world, if the injury or damage arises out of:

1) products you have made or sold in the basic
territory; or

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-2—

2) the activities of a person who normally resides
in the basic territory, but is away for a short
time on your business; and

provided that the insured's liability to pay
damages has been determined in a suit on the
merits in the basic territory, or in a settlement
that we have agreed to.

Damages means compensation in the form of
money for a person who claims to have suffered an

injury.

Declarations means ail pages labeled
“Declarations,” “Supplemental Declarations," or
"Schedules," which pertain to this policy.

Employee includes a leased worker. Employee
does not include a temporary worker.

Impaired property means tangible property (other
than products or your work):

a. whose value has been decreased:

1) because it includes products or your work
that is, or is believed to be, deficient or
dangerous; or

2) because you failed to carry out the terms of a
contract; and

b. whose value can be restored:

1) by the repair, replacement, adjustment, or
removal of products or your work; or
2) by your fulfilling the terms of the contract.

Insured means:

a. you and your spouse, but only with respect to the
conduct of a business of which you are the sole
owner, if shown on the declarations as an
individual;

b. you and all your partners or members and their
spouses, but only with respect to the conduct of
your business, if shown on the declarations as a
partnership or a joint venture; or

c. you and all of your executive officers and
directors, but only while acting within the scope of
their duties, if shown on the declarations as an
organization (other than a partnership or a joint
venture). It also includes your stockholders, but
only for their liability as such.

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Insured also includes:

a. any person or organization, except your
employees, while acting as your real estate
manager;

b. if you die during the policy period, your legal
representative while acting within the scope of
those duties as such, or a person who has
custody of your property with respect to liability
arising out of the maintenance or use of that
property until your legal representative is
appointed. Your legal representative has all your
rights and duties under this coverage;

c. with respect to the operation,
permission, of mobile equipment:

with your

1) your employee in the course of employment.
This does not apply to a fellow employee

13.

acquisition or formation or the end of the
policy period, whichever is earlier;

3) for bodily injury or property damage that
occurred prior to the acquisition or formation;
or

4) for personal injury or advertising injury
arising out of an offense committed prior to
the acquisition or formation.

No person or organization is an insured with respect
to the conduct of a current or past partnership or joint
venture that is not named on the declarations as an
insured.

Leased worker means a person whom you lease
from a labor leasing firm under a contract or
agreement to perform duties related to the conduct
of your business. Leased worker does not include a
temporary worker.

injured in the course of employment, 14. Limit means the amount of coverage that applies.

2) any other person, including another person or
an organization legally liable for the conduct of 15. Loading or unloading means the movement of
such person, but only: property:

a) te ep nent ae : of the operation of a. starting with after it is removed from the point
b) if there is no other insurance covering the where it has been Bocepled for transit by auto,
liability available to them; , cram,

3) no person or organization is an insured for b. continuing while it is in or on such vehicle; and
property damage to property owned by,
rented to, in the charge of, or occupied by c. ending when it has been removed from the
you, or an employer of any person who is an vehicle at its point of destination.
insured under paragraph c.

Loading or unloading includes movement by:
d. your employees, for acts within the scope of .

their employment by you (this does not include a. a hand truck; or

your executive officers). None of these .

employees are insureds for: b. any mechanical device only when attached to the

vehicle.

1) bodily injury, personal injury, and . .
advertising injury to you or to a fellow 16. Occurrence means an accident and includes
employee; or repeated exposure to similar conditions.

2) property damage to properly owned by, os ,

rented to, or loaned to employees, or any a 17. Personal injury means injury (other than b odily
your partners or members and their spouses Injury, property damage, or advertising injury)
(if you are a joint venture or a partnership) arising out of one or more of the following offenses:
e. any organization (other than a joint venture or a a. oral or written publication of material:

partnership) newly acquired or formed by you, 4) that .

: : weg slanders or libels a person or
and in which you have a majority interest. organization:

Such an organization is not an insured: 2) that disparages a person's or an
. . soe . organization's goods, products, or services; or

1) there is other similar insurance available to 3) that violates a person's right of privacy;

2) after 90 days immediately following that

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b. false arrest, detention, or imprisonment;
c. maticious prosecution, or

d. wrongful entry into, wrongful eviction from, or
invasion of the right of private occupancy of a
room, dwelling, or premises that a person
occupies. This offense must be committed by or
on behalf of the owner, landlord, or lessor of the
room, dwelling, or premises.

Products/completed work hazard --

a. Products hazard means bodily injury or
property damage occurring away from premises
you own or rent and arising out of products after
physical possession of the products has been
relinquished to others.

b. Completed work hazard means bodily injury or
property damage occurring away from premises
you own or rent and arising out of your work. It
does not include work that has not been
completed, or that has not been abandoned.

Your work is deemed completed at the earliest
of the following times:

1) when all work specified in your contract has
been done;

2) when all your work to be done at a job site
has been completed if your contract includes
work at more than one site; or

3) when your work at a job site has been put to
its intended use by any person or organization
other than another contractor or subcontractor
working on the same job site.

Work which requires further service,
maintenance, correction, repair, or replacement
because of defect or deficiency, but which is
otherwise complete, shall be deemed completed.

c. Neither of these hazards include bodily injury or
property damage arising out of:

1) the transportation of property, unless the injury
or damage arises out of a condition in or on a
vehicle, created by loading or unloading;

2) the presence of tools, uninstalled equipment,
or abandoned or unused materials; or

3) products or work for which the classification
on the declarations specifies “including
Products/Completed Work.”

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Products means goods or products manufactured,
sold, handled, distributed, or disposed of by you,
others trading under your name, or a person or
organization whose business or assets you have
acquired.

Products includes:

a. warranties or representations made at any time
with respect to the fitness, quality, durability, or
performance of products;

b. containers (other than vehicles), materials, parts,
or equipment fumished in connection with such
products; and

c. providing or failure to provide wamings or
instructions.

Products does not include:

a. vending machines or other property that is rented
to or placed for the use of others, but not sold; or

b. real property.
Property damage means:

a. physical injury or destruction of tangible property;
or

b. the loss of use of tangible property whether or not
it is physically damaged. Loss of use is deemed
to occur at the time of the occurrence that
caused it.

Temporary worker means a person who is
fumished to you as a temporary substitute for an
employee,

Terms are all provisions, limitations, exclusions,
conditions, and definitions that apply to the
Commercial Liability Coverage.

Your work means:
a. work or operations performed by you or on your

behalf;

b. materials, parts, and equipment supplied for such
work or operations;

c. written warranties or representations made at any
time regarding quality, fitness, durability, or
performance of any of the foregoing; and

d. providing or failing to provide wamings or
instructions.

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PRINCIPAL COVERAGES

We provide insurance for the following coverages
indicated by a specific limit or premium charge on the
declarations.
COVERAGEL— BODILY INJURY LIABILITY
PROPERTY DAMAGE LIABILITY

We pay all sums which an insured becomes legally
obligated to pay as damages due to bodily injury or
property damage to which this insurance applies. The
bodily injury or property damage must be caused by
an occurrence which takes place in the coverage
territory, and the bodily injury or property damage
must occur during the policy period.

COVERAGE M — MEDICAL PAYMENTS

1. We pay the medical expenses defined below for
bodily injury caused by an accident:

a, on premises you own or renf;

b. on ways adjacent or next to premises you own or
rent; or

c. arising out of your operations.
2. We pay such expenses regardless of fault but only if:

a, they arise out of an accident that occurred in the
coverage territory and during the policy period;
and

b. they are incurred and reported within one year of
the accident.

3. Medical expenses means the reasonable and
necessary expenses for:

a. medical, surgical, x-ray, and dental services,
including prosthetic devices and eye glasses;

b, ambulance, hospital, professional nursing, and
funeral services; and

c. first aid at the time of an accident.
COVERAGE N -- PRODUCTS/COMPLETED WORK

We pay all sums which an insured becomes legally
obligated to pay as damages due to bodily injury or
property damage arising out of the products/
completed work hazard to which this insurance
applies. The bodily injury or property damage must
be caused by an occurrence which takes place in the
coverage territory, and the bodily injury or property

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damage must occur during the policy period.
COVERAGE O — FIRE LEGAL LIABILITY

We pay for property damage to buildings, or parts
thereof, which you rent from another, or which are
loaned to you, if the property damage is caused by fire
for which you are legally liable. Buildings include fixtures
permanently attached thereto.

All of the exclusions otherwise applicable to property
damage do not apply to this coverage. However, we do
not cover:

1. liability arising under any contract or agreement to
indemnify any person or organization for damage by
fire to the premises; or

2. liability arising out of property damage:

a. which is expected by, directed by, or intended by
the insured; or

b. that is the result of intentional and malicious acts
of the insured.

COVERAGE P -- PERSONAL INJURY LIABILITY
ADVERTISING INJURY LIABILITY

We pay all sums which an insured becomes legally
obligated to pay as damages due to personal injury or
advertising injury to which this insurance applies.

1. We cover.

a. personal injury arising out of an offense
committed in the course of your business,
excluding advertising, publishing, broadcasting, or
telecasting done by you cr on your behalf, and

b. advertising injury arising out of an offense
committed in the course of advertising your
goods, products, or services.

2. The personal injury or advertising injury offense
must be committed:

a. within the coverage territory; and
b. during the policy period.

SUPPLEMENTAL COVERAGES

Subject to all the terms of the Principal Coverages, we
provide the following supplemental coverages. They do
not increase the limits stated for the Principal
Coverages.

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CONTRACTUAL LIABILITY d, that indemnifies any person or organization for

damage by fire to premises rented or loaned to
1, We cover bodily injury or property damage liability you.
which is assumed under the following contracts or

agreements: INCIDENTAL MEDICAL MALPRACTICE INJURY

a. lease of premises;

b. easement or license agreement (this does not

include an agreement in connection with any
construction or demolition operation within 50 feet
of a railroad);

. promise to indemnify a municipality if required by
an ordinance (this does not apply in connection
with work done for the municipality);

. sidetrack agreement;

. elevator maintenance agreement; or

4. We cover bodily injury arising out of the rendering
or failure to render the following services:

a. medical,

surgical, dental, x-ray, or nursing
services or treatment, or the fumishing of food or
beverages in connection therewith; or

b. the fumishing or dispensing of drugs or medical,

dental, or surgical supplies or appliances.

2. This coverage does not apply to:

a. expenses incurred by an insured for first aid to
. any part of any other contract or agreement others at the time of an accident:
relating to the conduct of your business ,
(including an indemnification of a municipality in b. an insured or an employee engaged in the
connection with work performed for wae business or occupation of providing any of the
municipality) under which you assume tort liability services described under 1.a. and 1.b. above; or
to pay damages because of bodily injury or ,
property damage. Tort liability means a liability c. injury caused by an indemnitee if such indemnitee
that would be imposed by law in the absence of ig engaged in the business or occupation of
any contract or agreement. providing any of the services described in 1.a.
and 1.b. above.
2. This coverage does not apply to that part of any
contract or agreement: MOBILE EQUIPMENT

a. that indemnifies any person or organization for

. that

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bodily injury or property damage arising out of
operations within 50 feet of railroad property and
affecting any railroad bridge or trestle, tracks,
road-beds, tunnel, underpass, or crossing;

indemnifies an architect, engineer, or
surveyor for injury or damage arising out of:

We pay all sums for which an insured is legally liable for
bodily injury or property damage resulting from
mobile equipment, including attached equipment and
machinery.

4. This coverage applies only to land motor vehicles
that meet one or more of the following criteria:

4) preparing, approving, or failing to prepare or a. Those which are used only on premises owned

prepanng, app Q, OF g '0 Prep by or rented to you (premises includes adjoining
approve maps, drawings, opinions, reports, ways)
surveys, change orders, designs, or ys).
specifications; or : . _

2) giving directions or instructions, or failing to b, anes whieh are designed primarily for use off

give them, if that is the primary cause of the P ,
injury or damage; c. Those which travel on crawler treads.

. under which the insured, if an architect, d. Those which are self-propelled and designed or

engineer, or surveyor, assumes liability for injury
or damage arising out of the insured’s rendering
or failing to render professional services,
including those fisted in 2.b.1) above, and
supervisory, inspection, or engineering services;
or

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used only to afford mobility to the following types
of equipment, which must be a part of or be
permanently attached to such vehicle:

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1) power cranes, shovels, loaders, diggers, or
drills;

2) concrete mixers (this does not include the
mix-in-transit type); and

3) graders, scrapers, rollers, and other road
construction or repair equipment.

e. Those which are not self-propelled, but are used
primarily to afford mobility to the following types of
equipment permanently attached thereto:

1) air compressors, pumps, and generators (this
includes spraying, welding, and building
cleaning equipment);

2) geophysical exploration, lighting, and well
servicing equipment; and

3) cherry pickers and similar devices used to
raise or lower workers.

2. This coverage does not apply to self-propelled

vehicles with the following types of permanently
attached equipment:

a. equipment designed primarily for snow removal,
street cleaning, road maintenance other than
road construction, or resurfacing;

b. cherry pickers and similar devices used to raise
or lower workers;

c. air compressors, pumps, and generators (this
includes spraying, welding, and building cleaning
equipment); or

and well

d. geophysical! exploration, — lighting,

servicing equipment.

We cover bodily injury or property damage arising out
of the operation of any of the equipment listed in
paragraphs 2.b., 2.c., and 2.d, above.

We will provide any liability, uninsured motorists, no
fault, or other coverages required by any motor vehicle
insurance law. We will provide the required limits for
such required coverage.

DEFENSE COVERAGE

Payments under this coverage are in addition to the
limits for the Commercial Liability Coverage.

1.

We have the right and duty to defend a suit seeking
damages which may be covered under the
Commercial Liability Coverage. We may make
investigations and settle claims or suits we decide
are appropriate.

Suit includes any altemative dispute resolution
proceeding involving bodily injury, property
damage, personal injury, or advertising injury to
which;

a, you must submit; or

b, you submit with our consent.

. We do not have to provide defense after we have

paid an amount equal to the limit as the result of:
a, a judgment, or

b. a written settlement agreed to by us.

. If we defend a suit, we will pay:

a. The costs taxed to the insured.
b. The expenses incurred by us.

c. The actual loss of eamings by the insured for the
time spent away from work at our request. We
pay up to $100 per day.

d. The necessary expenses incurred by the insured
at our request.

e. Pre-judgment interest awarded against the
insured on that part of the judgment we pay. If
we offer to pay the limit, we will not pay any pre-
judgment interest based on that period of time
after the offer.

f. The interest which accrues beginning with entry
of a judgment and ending when we tender,
deposit in court, or pay up to our limit.

g. The cost of appeal bonds or bonds for the release
of attachments up to our limit. We are not
required to apply for or furnish such bonds.

h. The cost, up to $500, for bail bonds required of an
insured because of an accident or traffic violation
arising out of the use of a vehicle to which
Coverage L applies. We are not required to apply
for or fumish such bonds.

EXCLUSIONS

We do not pay for a loss if one or more of the following
excluded events apply to the loss, regardless

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of other causes or events that contribute to or aggravate
the loss, whether such causes or events act to produce
the loss before, at the same time as, or after the
excluded event.

EXCLUSIONS THAT APPLY TO BODILY INJURY,
PROPERTY DAMAGE, PERSONAL INJURY, AND/OR
ADVERTISING {[NJURY

1.

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We do not pay for bodily injury, property damage,
personal injury, or advertising injury liability which
is assumed by the insured under a contract or an
agreement,

This exclusion does not apply to:

a. liability that an insured would have had in the
absence of the contract or agreement; or

b. bodily injury or property damage covered
under Contractual Liability Coverage, provided
that the bodily injury or property damage
occurs after the effective date of the contract or
agreement.

We do not pay for bodily injury, property damage,
personal injury, or advertising injury that arises
out of the rendering or the failure to render a
professional service, except as covered under
Incidental Medical Malpractice Injury Coverage.

We do not pay for bodily injury, property damage,
personal injury, or advertising injury that arises
out of the use of mobile equipment in, or in the
practice or preparation for, racing, speed, pulling or
pushing, demolition, or stunt activities or contests.

We do not pay for bodily injury, property damage,
personal injury, or advertising injury that arises
out of transporting mobile equipment by an auto
owned by, operated by, rented to, or loaned to any
insured.

We do not pay for bodily injury, property damage,
personal injury, and advertising injury that arises
out of the ownership, operation, occupancy, renting,
loaning, supervision, maintenance, use, entrusting,
loading or unloading of an auto, aircraft,
watercraft, or mobile equipment owned by, operated
by, rented to, or loaned to any insured.

This exclusion does not apply to:

a. bodily injury or property damage that arises out
of autos or mobile equipment covered under
Mobile Equipment Coverage;

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b. the parking of an auto on premises owned by,
rented to, or controlled: by you or on the ways
immediately adjoining if the auto is not owned by
or rented to or loaned to you or the insured;

c. liability assumed under a contract covered under
Contractual Liability Coverage for the ownership,
maintenance, or use of an aircraft or a watercraft;

d. watercraft, if itis on shore on premises owned by,
rented to, or controlled by you; or

e. watercraft, if itis not owned by you and is:
1) less than 26 feet in length; and

2) not being used to carry persons or property for
a charge.

. We do not pay for bodily injury, property damage,

personal injury, or advertising injury for which any
insured may be held liable by reason of:

a. causing or contributing to the intoxication of a
person;

b. the furnishing of alcoholic beverages to a person
under the influence of alcohol or under the legal
drinking age; or

c. a law or regulation relating to the sale, gift,
distribution, or use of alcoholic beverages.

This exclusion applies if you are in the business of
manufacturing, distributing, selling, or serving
alcoholic beverages.

. We do not pay for bodily injury, property damage,

personal injury, or advertising injury that arises
out of war. War includes undeclared war, civil war,
insurrection, rebellion or revolution, or an act or a
condition of war.

. We do not pay for bodily injury or property

damage:

a. which is expected by, directed by, or intended by
the insured; or

b. that is the result of intentional and malicious acts
of the insured.

This exclusion does not apply to bodily injury that
arises out of the use of reasonable force to protect
people or property.

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9. We do not pay for bodily injury or property

damage included within the products/completed
work hazard except as covered under Coverage N.

10. We do not pay for:

a. bodily injury or property damage arising out of
the actual, alleged, or threatened discharge,
dispersal, seepage, migration, release, or escape
of pollutants:

1) ator from any premises, site, or location which
is, of was at any time, owned by, occupied by,
rented to, or loaned to any insured, unless the
bodily injury or property damage arises
from the heat, smoke, or fumes of a fire which

treating, detoxifying, neutralizing, or in any way
responding to or assessing the effects of
pollutants.

Pollutants means:

a. any solid, liquid, gaseous, thermal, or radioactive
irritant or contaminant, including acids, alkalis,
chemicals, fumes, smoke, soot, vapor, and
waste. Waste includes materials to be disposed
_of as well as recycled, reclaimed, or
reconditioned.

b. electrical or magnetic emissions, whether visible
or invisible, and sound emissions.

becomes uncontrollable or breaks out from 11. We do not pay for:
where it was intended to be located; oa, .

2) ator from any premises, Site, or location which a. bodily injury or personal injury to an employee
is or was at any time used by or for any of the insured if it occurs in the course of
insured or others, for the handling, storage, employment by the insured; or
disposal, processing, or treatment of waste; .

3) which are or were at any time transported, b. consequential injury to a spouse, child, parent,
handled, stored, treated, disposed of, or brother, or sister of such injured employee.
processed as waste by or for any insured or
any person or organization for whom any This exclusion applies where the insured is liable
insured may be legally responsible; or either as an employer or in any other capacity; or

4) at or from any premises, site, or location there is an obligation to fully or partially reimburse a
where any insured or any contractor or third party for damages arising out of paragraph
subcontractor, directly or indirectly under your 11.a. or 11.b. above.
control, is working:

This exclusion does not apply to liability assumed by
a) if the pollutants are brought on or to the the insured under a contract covered under
premises, site, or location in connection Contractual Liability Coverage.
with such work by such insured, unless .
the bodily injury or property damage 12. We do not pay for bodily injury or personal injury if
arises from the heat, smoke, or fumes of a benefits are provided or are required to be provided
fire which becomes uncontrollable or by the insured under a workers' compensation,
breaks out from where it was intended to disability benefits, occupational disease,
be located; or unemployment compensation, or like law.
b) if the work is to test for, monitor, clean up,
remove, contain, treat, detoxify, or 13. We do not pay for bodily injury or personal injury
neutralize, or in any way respond to or that arises out of any:
assess the effects of pollutants.
a. refusal to employ;
b. any loss, cost, or expense arising out of any:
b. termination of employment;

1) request, demand, or order that any insured or
others test for, monitor, clean up, remove, c. coercion, demotion, evaluation, reassignment,
contain, treat, detoxify, or neutralize or in any discipline, defamation, harassment, humiliation,
way respond to or assess the effects of discrimination, sexual misconduct, or other
pollutants; or employment-related practices, policies, acts, or

2) claim or suit by or on behalf of any omissions; or
govemmental authority relating to testing for,
monitoring, cleaning up, removing, containing, d. consequential bodily injury or personal injury

as a result of 13.a., 13.b., and 13.c. above.
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This exclusion applies where the insured is liable
either as an employer or in any other capacity; or
there is an obligation to fully or partially reimburse a
third party for damages arising out of paragraph
13.a., 13.b., 13.¢., or 13.d. above.

ADDITIONAL EXCLUSIONS THAT APPLY ONLY TO
PERSONAL INJURY AND/OR ADVERTISING INJURY

1. We do not pay for personal or advertising injury
arising out of willful violation of an ordinance, statute,
or regulation by an insured or with the insured's
consent.

2. We do not pay for personal or advertising injury
arising out of:

a. oral or written publication of material done by or at
the direction of an insured who knew it was false;
or

b. oral or written publication of the same or similar
material by or on behalf of an insured that took
place prior to the policy. :

3. We do not pay for advertising injury arising out of
breach of contract, other than misappropriation of
advertising ideas under an implied contract.

4. We do not pay for advertising injury arising out of
the failure of goods, products, or services to conform
with advertised quality or performance.

5. We do not pay for advertising injury arising from an
offense committed by an insured whose business is
advertising, broadcasting, publishing, or telecasting.

6. We do not pay for advertising injury arising out of
wrong descriptions of the price of an insured's
goods, products, or services.

7. We do not pay for:

a. personal injury or advertising injury arising out
of the actual, alleged, or threatened discharge,
dispersal, seepage, migration, release, or escape
of pollutants at any time; or .

b. any loss, cost, or expense arising out of any:

1) request, demand, or order that any insured or
others test for, monitor, clean up, remove,
contain, treat, detoxify, or neutralize or in any
way respond to or assess the effects of
pollutants; or

2) claim or suit by or on behalf of any govern-

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mental authority relating to testing for,
monitoring, cleaning up, removing, containing,
treating, detoxifying, or neutralizing or in any
way responding to or assessing the effects of
pollutants.

Pollutants means:

a. any solid, liquid, gaseous, thermal, or radioactive
irritant or contaminant, including acids, alkalis,
chemicals, fumes, smoke, soot, vapor, and
waste. Waste includes materials to be disposed
of as well as recycled, reclaimed, or
reconditioned,

b. electrical or magnetic emissions, whether visible
or invisible, and sound emissions.

ADDITIONAL EXCLUSIONS THAT APPLY ONLY TO
PROPERTY DAMAGE

1.

We do not pay for property damage to property
owned by, occupied by, or rented to you, except as
covered under Coverage O.

. We do not pay for property damage to premises

you sell, give away, or abandon, if the property
damage arises out of any part of those premises.
This exclusion does not apply if the premises are
your work and were not occupied, rented, or held for
rental by you.

. We do not pay for property damage to property

used by or loaned fo you. This exclusion does not
apply with respect to liability assumed under a
sidetrack agreement.

We do not pay for property damage to either
business or non-business personal property in the
care, custody, or control of the insured. This
exclusion does not apply with respect to liability
assumed under a sidetrack agreement.

We do not pay for property damage to that specific
part of real property on which work is being
performed by:

a. you; or

b. a confractor or subcontractor working directly or
indirectly on your behalf,

if the property damage arises out of such work. This
exclusion does not apply with respect to liability
assumed under a sidetrack agreement.

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. We do not pay for property damage to that specific
part of any property that must be restored, repaired,
or replaced because of faults in your work. This
exclusion does not apply to:

a. property damage covered under the
products/completed work hazard; or

b. liability assumed under a sidetrack agreement.

. We do not pay for property damage to products if
the damage arises out of the products or their parts.

. We do not pay for property damage to your work if
the property damage arises out of your work and is
included in the products/completed work hazard.
This exclusion does not apply if damage to the work
or the part of the work out of which the damage
arises is performed by a subcontractor on your
behalf.

. We do not pay for property damage to property that
has not been physically injured or destroyed, or to
impaired property, that arises out of:

a. a delay or failure to perform a contract by you or
one acting on your behalf; or

b. a defect, deficiency, inadequacy, or unsafe
condition in your work or products.

This exclusion does not apply to the loss of use of
other property resulting from sudden and accidental
physical injury to or destruction of your work or
products after having been put to its intended use.

We do not pay for any loss or expense incurred by
you or anyone else arising out of the loss of use,
disposal, withdrawal, recall, inspection, repair,
replacement, adjustment, or removal of (including
any expenses involved in the withdrawal or recall) of
your work, products, or impaired property. This
applies when the loss of use, disposal, withdrawal,
recall, inspection, repair, replacement, adjustment, or
removal was because of a known or suspected
defect, deficiency, or unsafe condition.

ADDITIONAL EXCLUSIONS THAT APPLY ONLY TO
MEDICAL PAYMENTS

These exclusions apply in addition to the other
exclusions that apply to bodily injury.

1. We do not pay for medical expenses for bodily

injury to an insured.

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. We do’ not pay for medical expenses for bodily

injury to a person hired by or on behalf of any
insured to do work for:

a. aninsured; or

b. a tenant of an insured.

. We do not pay for medical expenses for bodily

injury to a person injured on that part of the
premises owned by or rented to you that the person
normally occupies.

. We do not pay for medical expenses for bodily

injury to a person injured while taking part in athletic
activities.

. We do not pay for medical expenses for bodily

injury included in the products/completed work
hazard.

. We do not pay for medical expenses for bodily

injury to your members if you are a club.

. We do not pay for medical expenses for bodily

injury to a guest of a hotel, motel, or tourist court
owned or operated by you or on your behalf.

. We do not pay for medical expenses for bodily

injury to a person if benefits are provided or required
to be provided under any workers’ compensation,
nonoccupational disability, occupational disease, or
like law.

. We do not pay for medical expenses for bodily

injury to a:

a. student or camper enrolled in a program of any
facility owned or operated by you or on your
behalf; or

b. patient or inmate being treated or detained in a
facility owned or operated by you or on your
behalf.

WHAT MUST BE DONE IN CASE OF LOSS

1. Notice --

a. In the case of an occurrence, or if an insured
becomes aware of anything that indicates that
there might be a claim under the Commercial
Liability Coverage, you must arrange for prompt
notice to be given to us or our agent. Notice to
our agent is notice to us.

b. The notice to us must state:

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1) the insured’s name;

2) the policy number,

3) the time, the place, and the circumstances of
the occurrence, or the situation that indicates
that there might be a claim; and

4) the names and addresses of ail known and
potential claimants and witnesses.

2. Cooperation ~ All insureds involved with an
occurrence or an offense must cooperate with us in
performing all acts required by the Commercial
Liability Coverage.

3. Volunteer Payments -- An insured must not make
payments or assume obligations or other costs
except at the insured's own cost. This does not
apply to first aid to others at the time of bodily

injury.
4. Other Duties —

a. Ifa claim is made or suit is brought, the insured
must:

1) promptly send to us copies of all legal papers,
demands, and notices; and
2) at our request, assist in:

a) a settlement;

b) the conduct of suits. This includes the
attendance at trials or hearings;

c) the enforcing of rights against all parties
who may be liable to an insured for the
injury or damage;

d) the securing of and giving of evidence; and

e) obtaining the attendance of all witnesses.

b. tn the case of a medical payments loss:

1) the injured person (or one acting on such
person's behalf) must:

a) give us written proof of claim (under oath if
requested) as soon as practicable; and

b) give us permission to get copies of the
medical records;

2) the injured person must submit to medical
exams by doctors chosen by us when and as
often as we may reasonably require.

HOW MUCH WE PAY

1. The limits, shown on the declarations and subject
to the following conditions, are the most we pay
regardless of the number of:

a. insureds under the Commercial Liability
Coverage;

b. persons or organizations who sustain. injury or
damage; or

c. claims made or suits brought.
The payment of a claim under Coverage M does not

mean that we admit we are liable under other
coverages.

. The General Aggregate Limit is the most we will pay

during a policy period for the sum of:

a. all damages under Coverage L, except damages
due to bodily injury or property damage
included under Coverage N;

b. all medical expenses under Coverage M;

c. all damages under Coverage O; and

d. all damages under Coverage P.

. The Products/Completed Work Hazard Aggregate

Limit is the most we will pay during a policy period for
damages due to bodily injury or property damage
included under Coverage N.

. The Each Occurrence Limit, subject to the General

Aggregate Limit and the Products/Completed Work
Hazard Aggregate Limit, is the most we will pay for
the total of:

a. damages under Coverages L, N, and O; and

b. medical expenses under Coverage M.,

due to all bodily injury and property damage
arising out of a single occurrence.

. The Coverage P Limit, subject to the General

Aggregate Limit, is the most we pay due to all
personal injury and advertising injury sustained by
one person or organization.

. Subject to the Each Occurrence Limit and the

General Aggregate Limit, our limit for property
damage covered under Coverage O is $50,000 for
each occurrence unless otherwise shown on the
declarations.

. Subject to the General Aggregate Limit and the Each

Occurrence Limit, the Coverage M Limit is the most
that we will pay under Coverage M for all medical
expenses because of bodily injury sustained by any
one person.

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8. The General Aggregate Limit and the Products/

Completed Work Hazard Aggregate Limit apply
separately to each consecutive 12-month period
beginning with the inception date of the Commercial
Liability Coverage shown on the declarations. They
also apply separately to any remaining policy period
of less than 12 months, unless the Commercial
Liability Coverage has been extended after it was
written. In that case, the additional period will be
considered part of the last preceding period for the
purpose of determining limits.

CONDITIONS

1. Bankruptcy -- Bankruptcy or insolvency of an

insured does not relieve us of our obligations under
Commercial Liability Coverage.

. Insurance Under More Than One Policy — (Applies
to all coverages except Coverage M — Medical
Payments.)

a. Insurance under this Commercial Liability
Coverage is primary except as provided under
paragraph 2.c. below, or unless otherwise stated.
The amount of our liability is not reduced
because of other insurance which applies to the
loss on other than a primary basis.

b. If the other insurance is also primary, we will
share in the loss as follows:

1) If the other insurance provides for contribution
by equal shares, we will pay equal amounts
with other insurers until:

a) the lowest applicable limit under any one
policy is reached; or
b) the full amount of the loss is paid.

If part of the loss remains unpaid, we will pay
an equal share with the other insurers until the
full amount of the loss is paid, or until we have
paid our limit in full.

2) If the other insurance does not provide for
contribution by equal shares, we will pay, up to
our limit, no more than that proportion of the
loss to which the applicable limit under this
policy for such loss bears to the total
applicable limit for all insurance against the
loss.

c. Insurance under this Commercial Liability
Coverage is excess over any other insurance:

1) if the other insurance, whether primary,

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excess, contingent, or on any other basis,
provides:

a) fire, extended coverage, builders’ risk,
installation risk, or similar coverage for
your work; or

b) fire insurance for premises rented to you;
or

2) if the other insurance applies to any loss
arising out of the maintenance or use of
aircraft, autos, or watercraft which may be
covered by this policy.

d. When this insurance is excess over any other.
insurance:

1) we will have no duty to defend any claim or
suit that any other insurer has a duty to
defend. if no other insurer defends, we will do
so. However, we will be entitled to the
insured's rights against all those other
insurers.

2) we will pay our share of the amount of loss, if
any, that exceeds the sum of:

a) the total amount that all such other
insurance would pay for the loss in the
absence of this insurance; and

b) the total of all deductibles and self-insured
amounts required by such other insurance.

We will share the remaining Joss with any
other insurance that is not described in this
excess insurance provision and was not
bought specifically to apply in excess of the
limits shown on the declarations of this
Commercial Liability Coverage.

3. Misrepresentation, Concealment or Fraud -- This

coverage is void as to you and any other insured if
before or after a loss:

a, you have or any insured has willfully concealed
or misrepresented:

1) a material fact or circumstance that relates to
this insurance or the subject thereof; or
2) the insured's interest herein;

b. there has been fraud or false swearing by you or
any other insured with regard to a matter that
relates to this insurance or the subject thereof.

. Motor Vehicle Financial Responsibility Certifica-

tion -- When Commercial Liability Coverage is
cettified as proof of financial responsibility for the

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future under the provisions of any motor vehicle 1.

financial responsibility law, the insurance provided for
bodily injury liability or property damage Jiability will
comply with the provisions of the law to the extent of
the coverage and limits of insurance required by that
law.

5. Premium — If the premium is shown on the
declarations as a deposit premium, we will compute
the final eamed premium at the end of each audit
period shown on the declarations. !f it is more than
the deposit premium paid by you, we will bill you for
the difference. If the final earned premium is less
than the deposit premium paid by you, we will return
the difference to you. You must maintain records of
the information that is necessary for computing the
premium. Copies of the records must be sent to us
at the end of the audit period or when requested by
us.

6. Separate Insureds -- Coverage provided under the
Commercial Liability Coverage applies separately to
each insured against whom claim is made or suit is
brought. This does not affect the limits stated under
How Much We Pay.

7. Subrogation — !f we pay under the Commercial
Liability Coverage, we may require from an insured

an assignment of any right of recovery. We are not 2.

liable under the Commercial Liability Coverage if any
insured has impaired our right to recover. An
insured may waive its right to recover, in writing,
before an occurrence takes place.

8. Sult Against Us — No suit may be brought against 3.

us unless:

a. all the terms of the Commercial Liability
Coverage have been complied with; and

b. the amount of the insured's liability has been
determined by:

1) a final judgment against an insured as a
result of a trial; or

2) a written agreement by the insured, the
claimant, and us.

No person has a right under the Commercial Liability

Coverage to join us or implead us in actions that are
brought to determine an insured's liability.

NUCLEAR ENERGY
LIABILITY EXCLUSION

This insurance does not apply:

GL-200 Ed 1.0 14 —

under any liability coverage, to bodily injury or
property damage:

a. with respect to which an insured under the policy
is also an insured under a Nuclear Energy
Liability policy issued by Nuclear Energy Liability
Insurance Association, Mutual Insurance
Association, Mutual Atomic Energy Liability
Underwriters, Nuclear Insurance Association of
Canada or any of their successors, or would be
an insured under any such policy but for its
termination upon exhaustion of its limit of liability;
or

b. resulting from the hazardous properties of
nuclear material and with respect to which:

4) any person or organization is required to
maintain financial protection pursuant to the
Atomic Energy Act of 1954, or any law
amendatory thereto; or

2) the insured is, or had this policy not been
issued would be, entitled to indemnity from the
United States of America or any agency
thereof, under any agreement entered into by
the United States of America or any agency
thereof, with any person or organization.

under any Medical Payments coverage, to expenses
incurred with respect to bodily injury resulting from
the hazardous properties of nuclear material and
arising out of the operation of a nuclear facitity by
any person or organization.

under any liability coverage, to bodily injury or
property damage resulting from the hazardous
properties of nuclear material, if:

a. the nuclear material:

1) is at any nuclear facility owned by, or
operated by or on behalf of, an insured; or
2) has been discharged or dispersed therefrom,

b. the nuclear material is contained in spent fuel
or waste at any time possessed, handled, used,
stored, processed, transported, or disposed of by
or on behalf of an insured; or

c, the bodily injury or property damage arises out
of the furnishing by an insured of services,
materials, parts, or equipment in connection with
the planning, construction, maintenance,
operation, or use of any nuclear facility, but if
such facility is located within the United States of
America, its territories or possessions, or ,

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Canada, this exclusion (c.) applies only to 6.

property damage to such nuclear facility and
any property thereat.

DEFINITIONS

The following definitions apply to the Nuclear Energy
Liability Exclusion:

1. Hazardous Properties — These include radioactive,
toxic, or explosive properties.

2. Nuclear Material — This means source material,
special nuclear material, or by-product material.

3. Source Material, Special Nuclear Material, By-
product Material — These have the meanings given
them in the Atomic Energy Act of 1954, or in any law
amendatory thereof.

4. Spent Fuel ~ This means any fuel element or fuel
component, solid or liquid, which has been used or
exposed to radiation in a nuclear reactor.

5. Waste — This means any waste material:
a. containing by-product material other than the

tailings or wastes produced by the extraction or
concentration of uranium or thorium from any ore

processed primarily for its source material 7.

content; and

b. resulting from the operation by any person or
organization of any nuclear facility included
under the first two paragraphs of the definition of
nuclear facility.

GL-200 Ed 1.0 - 15 —

Nuclear Facility — This means:
a. any nuclear reactor.
b. any equipment or device designed or used for:

1) separating the isotopes of uranium or
plutonium,

2) processing or utilizing spent fuel; or

3) handling, processing, or packaging waste.

c. any equipment or device used for the processing,
fabricating, or alloying of special nuclear
material if at any time the total amount of such
material in the custody of the insured at the
premises where such equipment or device is
located consists of or contains more than 25
grams of plutonium or uranium-233 or any
combination thereof, or more than 250 grams of
uranium-235.

d. any structure, basin, excavation, premises, or
place prepared or used for the storage or
disposal of waste;

and includes the site on which any of the foregoing is
located, all operations conducted on such sites, and
all premises used for such operations.

Nuclear Reactor -- This means any apparatus
designed or used:

a. to sustain nuclear fission in a self-supporting
chain reaction; or :

b. to contain a critical mass of fissionable material.

Property Damage — This includes ail forms of
radioactive contamination of property.

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AAIS This endorsement changes the Commercial

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Liability Coverages provided by this policy
-- PLEASE READ THIS CAREFULLY --

NON-OWNED AUTO LIABILITY COVERAGE
HIRED AUTO LIABILITY COVERAGE

Insurance is provided only with respect to each
of the following coverages when an additional
premium charge is shown on the "declarations".

The Commercial Liability Coverage is amended
as follows:

PRINCIPAL COVERAGES

NON-OWNED AUTO LIABILITY
Coverage L is extended to apply to “bodily injury"
or “property damage" arising out of the use of a
“non-owned auto” in “your” business by a person
other than "you".

HIRED AUTO LIABILITY

Coverage L is extended to apply to “bodily injury"
or “property damage” arising out of the
maintenance or use of a "hired auto" by "you" or
"your" "employees" in the course of "your"
business.

DEFINITIONS

1. With respect to the coverage provided by
this endorsement, the definition of “insured”
is deleted and replaced by the following:

a. “Insured“ means:

1) "you";

2) any other person using a “hired
auto" with "your" permission;

3) with respect to a "non-owned auto",
“your" partners, "your" executive
officers, or “your managers (if
“you" are a limited liability company),
but only while the "non-owned auto”
is used in "your" business; and

2.

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4) any other person or organization, but
only with respect to their liability
because of acts or omissions of an
“insured" under 1.a.1), 1.4.2), and
1.a.3) above.

b. None of the following is an "insured":

1) any person engaged in the business
of his or her employer for "bodily
injury" to any fellow "employee" of
such person injured in the course of
employment, or consequential injury
to a spouse, child, parent, brother,
or sister of such fellow "employee",
or for an obligation to fully or partially
reimburse a third party for
“damages” because of the injury;

2) any partner, executive officer, or
manager (if "you" are a limited
liability company), with respect to an
"auto" owned by such partner,
officer, or manager or a member of
his or her household;

3) any person while employed in or
otherwise engaged in duties in
connection with an "auto business",
other than an “auto business"
operated by "you"; and

4) the owner or lessee (of whom "you"
are a sublessee) of a "hired auto" or
the owner of a “non-owned auto" or
any agent or “employee” of any such
owner or lessee.

No person or organization is an "insured"
with respect to the conduct of a current or
past partnership, joint venture, or limited
liability company that is not named on the
"declarations" as an "insured".

With respect to the coverage provided by
this endorsement, the following definitions
are added:

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a. “Auto business” means the business or
occupation of selling, repairing,
servicing, storing, or parking “autos”.

b. “Hired auto" means an “auto” "you"
lease, hire, or borrow on an occasional
or infrequent basis. It does not include
an “auto” “you” lease, hire, or borrow
from:

1) any of "your" “employees” or
members of their households; or

2) any of "your" partners, executive
officers, or managers (if "you" are a
limited liability company) or
members of their households.

c. “Non-owned auto" means any "auto"
“you” do not own, lease, hire, or borrow
which is used in connection with "your"
business. If "you" are a partnership, a
“non-owned auto" does not include any
"auto" owned by any partner.

EXCLUSIONS

With respect to the coverage provided by
this endorsement, the exclusions relating to
"bodily injury" or "property damage" that
arises out of "autos", aircraft, watercraft,
mobile equipment, or "motorized vehicles"
do not apply.

With respect to the coverage provided by
this endorsement, the exclusion relating to
rendering or failing to render professional
services does not apply.

With respect to the coverage provided by
this endorsement, the exclusion relating to
liquor liability does not apply.

With respect to the coverage provided by
this endorsement, the exclusion relating to
"bodily injury" to an "employee" is replaced
by the following:

"We" do not pay for:

a. “bodily injury" to an "employee" of the
“insured” if it occurs in the course of
employment by the "insured"; or

b. consequential injury to a spouse, child,
parent, brother, or sister of such injured
"employee",

This exclusion applies where the "insured" is
liable either as an employer or in any other
capacity; or there is an obligation to fully or
partially reimburse a third person for
"damages" arising out of paragraph 4.a. or
4.b. above.

This exclusion does not apply to:

a. liability assumed by the “insured” under
a contract covered under Incidental
Contractual Liability Coverage or
Contractual Liability Coverage; or

b. “bodily injury" arising out of and in the
course of domestic employment by the
“insured” unless benefits for such injury
are in whole or in part either payable or
required to be provided under any
workers’ compensation law.

ADDITIONAL EXCLUSIONS THAT APPLY
ONLY TO PROPERTY DAMAGE

With respect to the coverage provided by this
endorsement, the exclusions in this section are
deleted and replaced by the following:

4. "We" do not pay for "property damage" to
property owned or being transported by, or
Tented, leased, or loaned to the “insured”.

2. "We" do not pay for “property damage" to
property in the care, custody, or control of
the "insured".

GL-122 Ed 2.2
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HAGL 2022 12 13

insured Name: One South Place LP
Policy Number: HEICL-205802-163574-2016
Endorsement Effective Date: 09/20/2016

ay HAI Group

This endorsement changes the policy
PLEASE READ THIS CAREFULLY

ANTI-STACKING
ENDORSEMENT

The following change is made to:

CONDITIONS

The following condition is added:

9. Two or More Coverage Forms or Policies
Issued by Us —

1. If this Coverage Form and any other
Coverage Form or policy issued to you by us
or any of our affiliated companies apply to
the same “occurrence” or offense, the
maximum fimit of insurance under all the
Coverage Forms or policies will not exceed
the highest applicable limit of insurance
available under any one Coverage Form or
policy.

2. The maximum aggregate for all Loss
(including Defense Costs) under this
Coverage Form and any other Coverage
Form or policy issued to you by us or any of
our affiliated companies combined on
account of the same “occurrence” or offense
shall not exceed the largest single applicable
limit of liability under any one Coverage
Form or policy.

3. The aggregate limit under this Policy shall be

reduced, and may be exhausted by
payments under this Coverage Form and
any other Coverage Form or policy issued to
you by us or any of our affiliated companies.
This condition does not apply to any other
Coverage Form or policy issued by us or any
of our affiliated companies specifically to
apply as excess insurance over this
Coverage Form.

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AMENDATORY ENDORSEMENT

The reference to words that have special meaning is deleted and replaced by the
following:

Refer to Definitions for words and phrases that have special meaning. These
words and phrases are shown in quotation marks or bold type.

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OTHER INSURANCE AMENDMENT

The policy is amended as follows. All other "terms" of the policy apply, except as
amended by this endorsement.

CONDITIONS

~ Item 2.c. under Conditions is deleted and replaced by the following:

c. Insurance under this Commercial Liability Coverage is excess over any other
insurance:

1) if the other insurance, whether primary, excess, contingent, or on any
other basis, provides:

a) fire, extended coverage, builders’ risk, installation risk, or similar
coverage for "your work"; or
b) fire insurance for premises rented to "you";

2) ifthe other insurance applies to any loss arising out of the maintenance
or use of aircraft, "autos", or watercraft which may be covered by this
policy; or

3) if the other insurance is primary insurance and is available to “you” to
cover liability arising out of the:

a) premises or operations;
b) completed work; or
c) products;

for which "you" have been added as an additional insured by
endorsement to the policy.

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GL 0996 10 05 Liability Coverage provided by this policy
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AUTO AND MOBILE EQUIPMENT AMENDMENTS

When the Commercial Liability Coverage is
provided by form GL-200 or GL 0200, coverage
is amended as follows:

DEFINITIONS

4. The definition of "auto" is deleted and
replaced by the following:

"Auto" means:

a. aland motor vehicle, a trailer, or a semi-
trailer which is designed for use on public
roads. "Auto" includes attached
machinery and equipment; or

b. any other land vehicle that is subject to a
compulsory or financial responsibility law
or other motor vehicle insurance law in
the state where it is licensed or
principally garaged.

2. The definition of "insured" is deleted and
replaced by the following:

"Insured" means:

a. "you" and "your" spouse, but only with
respect to the conduct of a business of
which "you" are the sole owner, if shown
on the "declarations" as an individual;

b. “you” and all "your" partners or members
and their spouses, but only with respect
to the conduct of “your” business, if
shown on the "declarations" as a
partnership or a joint venture;

c. "you" and all "your" members and
managers, but only while acting within
the scope of their duties, if shown on the
"declarations" as a limited liability
company; or

d.

"you" and all of "your" executive officers
and directors, but only while acting within
the scope of their duties, if shown on the
"declarations" as an organization (other
than a partnership, joint venture, or
limited liability company). It also includes
"your" stockholders, but only for their
liability as such.

"Insured" also includes:

a,

any person or organization, except "your"
“employees”, while acting as "your" real
estate manager;

if "you" die during the policy period,
"your" legal representative while acting
within the scope of those duties as such,
or a person who has custody of "your"
property with respect to liability arising
out of the maintenance or use of that
property until "your" legal representative
is appointed. "Your" legal representative
has all "your" rights and duties under this
coverage;

"your" "employees", for acts within the
scope of their employment by "you" (this
does not include “your” managers if "you"
are a limited liability company or "your"
executive officers if "you" are an
organization other than a limited liability
company). None of these "employees"
are “insureds” for:

1) "bodily injury", “personal injury", and
“advertising injury" to "you" or to a
fellow "employee"; or

2) "property damage" to property owned
by, rented to, or loaned to
"employees", or any of "your"
partners or members and their
spouses (if "you" are a joint venture
or a partnership), or any of "your"
members (if "you" are a limited

‘fiability company), and

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d. any organization (other than a joint
venture, partnership, or limited liability
company) newly acquired or formed by

"you", and in which "you" have a majority

interest.

Such an organization is not an “insured”:

1) if there is other similar insurance
available to it;

2) after 90 days immediately following
that acquisition or formation or the

end of the policy period, whichever is

earlier; :
3) for "bodily injury" or “property
damage" that occurred prior to the
acquisition or formation; or
4) for "personal injury" or "advertising
injury" arising out of an offense

committed prior to the acquisition or

formation.

No person or organization is an "insured"
with respect to the conduct of a current or
past partnership, joint venture, or limited
liability company that is not named on the
"declarations" as an "insured".

SUPPLEMENTAL COVERAGES

Under Supplemental Coverages, Mobile
Equipment is deleted and replaced by the
following:

MOBILE EQUIPMENT

"We" pay all sums, for which an "insured" is
legally liable for "bodily injury" or "property
damage", resulting from mobile equipment,
including attached equipment and machinery,
subject to the following provisions.

1. This coverage applies only to land motor
vehicles that meet one or more of the
following criteria:

a. Those which are used only on premises |

owned by or rented to "you" (premises
includes adjoining ways).

b. Those which are designed primarily for
use off public roads.

c. Those which travel on crawler treads.

d. Those which are self-propelled and
designed or used only to afford mobility
to the following types of equipment,
which must be a part of or be
permanently attached to such vehicle:

1) power cranes, shovels, loaders,
diggers, or drills;

2) concrete mixers (this does not
include the mix-in-transit type); or

3) graders, scrapers, rollers, and other
road construction or repair
equipment.

e. Those which are not self-propelled, but
are used primarily to afford mobility to the
following types of equipment
permanently attached thereto:

1) air compressors, pumps, and
generators (this includes spraying,
welding, and building cleaning
equipment);

2) geophysical exploration, lighting, and
well servicing equipment; or

3) cherry pickers and similar devices
used to raise or lower workers.

2. This coverage does not apply to:

a. self-propelled vehicles with the following
types of permanently attached machinery
and equipment:

1) equipment designed primarily for
snow removal, street cleaning, road
maintenance other than road
construction, or resurfacing;

2) cherry pickers and similar devices
used to raise or lower workers;

3) aif compressors, pumps, and
generators (this includes spraying,
welding, and building cleaning
equipment); or

4) geophysical exploration, lighting, and
well servicing equipment.

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However, coverage does apply to "bodily
injury" or “property damage" arising out
of the operation of any of the machinery
and equipment listed in paragraphs
2.a,2), 2.4.3), and 2.2.4) above.

b. a land vehicle that is subject to a
compulsory or financial responsibility law
or other motor vehicle insurance law in
the state where it is licensed or
principally garaged. Land vehicles
subject to a compulsory or financial
responsibility law or other motor vehicle
insurance law are considered "autos",

However, coverage does apply to "bodily
injury" or “property damage” arising out
of the operation of machinery or
equipment that is attached to, or part of,
a land vehicle that would qualify as
mobile equipment as described under
Mobile Equipment Coverage if it were not
subject to a compulsory or financial
responsibility law or other motor vehicle
insurance law in the state where it is
licensed or principally garaged.

The definition of "insured" is amended to
include the following provisions with respect
to the operation, with "your" permission, of
mobile equipment that is covered under the
"terms" of this Supplemental Coverage:

a. “insured” also includes:

1) any person, other than “your"
“employee”, while operating the
mobile equipment with "your"
permission; and

2) any person or organization legally
liable for the conduct of such person
in paragraph 3.4.1) above, but only
for liability arising out of the
operation of the mobile equipment
and only if there is no other
insurance covering this liability
available to that person or
organization.

b. “insured” does not include any person or
organization for "property damage" to
- property owned by, rented to, in the
charge of, or occupied by:

1) "you"; or

2) an employer of any person who is an
“insured" under paragraph 3.a.
above.

EXCLUSIONS

Exclusion 5., under Exclusions That Apply To
Bodily Injury, Property Damage, Personal Injury,
And/Or Advertising Injury is deleted and replaced
by the following:

5. "We" do not pay for "bodily injury”, "property
damage", "personal injury", or "advertising
injury" that arises out of the ownership,
operation, occupancy, renting, loaning,
supervision, maintenance, use, entrusting,
“loading or unloading” of an "auto", aircraft,
watercraft, or mobile equipment owned by,
operated by, rented to, or loaned to any

“insured”,

This exclusion does not apply to:

»

“bodily injury" or "property damage" that
arises out of mobile equipment covered
under Mobile Equipment Coverage;

b. the parking of an “auto” on premises
owned by, rented to, or controlled by
"you" or on the ways immediately
adjoining if the "auto" is not owned by or
rented to or loaned to "you" or the
“insured”:

c. liability assumed under a contract
covered under Contractual Liability
Coverage for the ownership,
maintenance, or use of an aircraft or a
watercraft;

d. watercraft, if itis on shore on premises
owned by, rented to, or controlled by
"you"; or

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e. watercraft, if it is not owned by “you" and
Is: CONDITIONS

1) Jess than 26 feet in length; and.
2) not being used to carry persons or
property for a charge.

Motor Vehicle Financial Responsibility
Certification is deleted.

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Liability Coverages provided by this policy
— PLEASE READ THIS CAREFULLY —

LIABILITY COVERAGE -- DESIGNATED PREMISES

’ SCHEDULE
(The information required below may be shown on a separate schedule or supplemental declarations.)

Premises: Per all premises shown on the Commercial Liability Schedule - HAGL 2001

The Commercial Liability Coverage is amended as follows:

EXCLUSIONS 1. that arises out of the ownership, maintenance, or use
of the premises other than those described above; or
EXCLUSIONS THAT APPLY TO BODILY INJURY,

PROPERTY DAMAGE, PERSONAL INJURY, AND/OR 2. that arises out of operations that are necessary or
ADVERTISING IN JURY , incidental to the ownership, maintenance, or use of

premises other than those described above.
The following exclusions are added:
We do not pay for bodily injury or property damage

(or personal injury or advertising injury, if provided by
the Commercial Liability Coverage):

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KNOWN INJURY OR DAMAGE AMENDMENTS

The Commercial Liability Coverage is amended
as follows:

1.

Under Definitions, the following definition is
added:

"Designated insured" means:

a. "you" and "your" spouse, but only with
respect to the conduct of a business of
which "you" are the sole owner, if "you"
are shown on the “declarations” as an
individual;

b. "you" and all "your" partners or members
and their spouses, but only with respect
to the conduct of "your" business, if "you"
are shown on the "declarations" as a
partnership or a joint venture;

cs. "you" and all "your’ members and
managers, but only while acting within the
scope of their duties, if "you" are shown
on the "declarations" as a limited liability
company; and

d. "you" and all "your" executive officers and
directors, but only while acting within the
scope of their duties, if "you" are shown
on the "declarations" as an organization
(other than a partnership, joint venture, or
limited liability company). It also includes
"your" stockholders, but only for their
liability as such; or

-@. any “employee” who is authorized to give

or receive notice of an "occurrence" or a
claim.

Under Principal Coverages, Coverage L and,
if applicable, Coverage N are amended by
the addition of the following:

This insurance applies only to:

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a. “Bodily injury” or "property damage"
which is not a continuation of, resumption
of, or change in "bodily injury” or
“property damage" that was known by a
"designated insured” prior to the
inception date of the policy period. Ifa
"designated insured" knew, as stated
under the Knowledge of Bodily Injury or
Property Damage Condition, prior to the
inception date of the policy period, that
“bodily injury" or "property damage" had
occurred, any continuation of, resumption
of, or change in such “bodily injury" or
“property damage" will be deemed to
have been known by the "designated
insured" prior to the inception date of the
policy period.

b. "Bodily injury" or “property damage" that
occurs during the policy period and which
is not a continuation of, resumption of, or
change in "bodily injury" or "property
damage" which was known by a
"designated insured", as stated under the
Knowledge of Bodily Injury or Property
Damage Condition, to have occurred
prior to the inception date of this policy
period, will include any continuation of,
resumption of, or change in such "bodily
injury" or "property damage" after the end
of this policy period.

Under Defense Coverage, the following is
added:

"We" have no duty to defend a suit or claim
seeking "damages" because of "bodily injury"
or “property damage" which was known by a
“designated insured", as stated under the
Knowledge of Bodily Injury or Property
Damage Condition, prior to the inception date
of the policy period.

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GL 0950 12 99

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4. Under Conditions, the following condition is b. when any "designated insured" reports
added: the "bodily injury" or "property damage" to

“us" or any other insurer; or
Knowledge of Bodily Injury or Property

Damage — Knowledge of "bodily injury" or c. when any "designated insured" becomes
“property damage” will be deemed to have aware of anything that indicates that
occurred at the earliest of the following times: "bodily injury" or "property damage" may

have occurred or is occurring.
a. whena suit, claim, or demand for
"damages" alleging "bodily injury" or
“property damage" is received by any ’ GL 0950 12 99
"designated insured”, Copyright, American Association of insurance Services, 2000

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PagelD #: 147
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AAIS This endorsement changes
GL 0260 01 15 the policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY --

CERTIFIED ACT OF TERRORISM EXCLUSION

1. The following definition is added.

"Certified act of terrorism” means an act that
is certified by the Secretary of the Treasury,
in consultation with the Secretary of
Homeland Security, and the Attorney
General of the United States:

a. to be an act of terrorism;

b. to be a violent act or an act that is
dangerous to human life, property, or
infrastructure;

c. to have resulted in damage:

1) within the United States; or

2) to an air carrier (as defined in section
40102 of title 49, United States
Code); to a United States flag vessel
(or a vessel based principally in the
United States, on which United
States income tax is paid and whose
insurance coverage is subject to
regulation in the United States),
regardless of where the loss occurs;
or at the premises of any United
States mission;

d. to have been committed by an individual
or individuals, as part of an effort to
coerce the civilian population of the
United States or to influence the policy or
affect the conduct of the United States
Government by coercion; and

e. to have resulted in insured losses in
excess of five million dollars in the
aggregate, attributable to all types of
insurance subject to the Terrorism Risk
Insurance Act, as amended.

The following exclusion is added.

CERTIFIED ACT OF TERRORISM
EXCLUSION

"We" will not pay for any injury or damage
caused directly or indirectly by a "certified act
of terrorism". Such injury or damage is
excluded regardless of any other cause or
event that contributes concurrently or in any
sequence to the injury or damage.

GL 0260 01 15

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AAIS This endorsement changes the Commercial
GL 0209 10 05 Liability Coverage provided by this policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY --
ASBESTOS EXCLUSION
The Commercial Liability Coverage is amended 3. "personal injury" or "advertising injury", if
as follows: provided by the Commercial Liability
Coverage, arising out of the actual, alleged,
or threatened ingestion of, inhalation of,
absorption of, contact with, existence of,
EXCLUSIONS exposure to, or presence of asbestos,
asbestos products, asbestos fibers, or
asbestos dust; or
The following exclusions are added: 4. any loss, cost, or expense arising out of the
Af" . testing for, monitoring, cleaning up,
We" do not pay for: removing, containing, treating, detoxifying,
Uhadity intuny" ariel tralizing, or in any way responding to or
4. “bodily injury" arising out of the actual, neutralizing,
alleged, or threatened ingestion, inhalation, oraduats” me ore asbestos. asbestos
or absorption of asbestos, asbestos ee u ‘S, as or Othe: as ° ver us
products, asbestos fibers, or asbestos dust; y any insure any otner person 0
. organization.
2. "property damage" arising out of the actual,
lleged, or threatened contact with, existence
aed aoe GL 0209 10 05

of, exposure to, or presence of asbestos,
asbestos products, asbestos fibers, or
asbestos dust;

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AAIS This endorsement changes the Commercial
GL 0348 06 02 Liability Coverage provided by this policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY --

EXCLUSION -- WET ROT, DRY ROT, BACTERIA, FUNGI, OR |
PROTISTS

The Commercial Liability Coverage is amended
as foilows:

1. The following exclusions are added:

a.

"We" do not pay for actual or alleged
“bodily injury" or “property damage" (or
"personal injury" or “advertising injury”,
when provided by this policy) that results
directly or indirectly from ingestion of,
inhalation of, physical contact with, or
exposure to:

1) wet rot; dry rot; a bacterium; a
fungus, including but not limited to
mildew and mold; or a protist,
including but not limited to algae and
slime mold; or

2) achemical, matter, or a compound
produced or released by wet rot, dry
rot, a bacterium, a fungus, or a
protist, including but not limited to
toxins, spores, fragments, and
metabolites such as microbial volatile
organic compounds.

"We" do not pay for any loss, cost, or
expense arising out of any request,
demand, or order that any “insured” or
others test for, monitor, clean up,
remove, contain, treat, detoxify,
neutralize, or in any way respond to or
assess the effects of:

1) wet rot; dry rot; a bacterium, a
fungus, including but not limited to
mildew and mold; or a protist,
including but not limited to algae and
slime mold; or

2) achemical, matter, ora compound
produced or released by wet rot, dry
rot, a bacterium, a fungus, or a
protist, including but not limited to
toxins, spores, fragments, and
metabolites such as microbial volatile
organic compounds.

c. "We" do not pay for any loss, cost, or
expense arising out of any claim or suit
by or on behalf of any govemmental
authority relating to testing for,
monitoring, cleaning up, removing,
containing, treating, detoxifying,
neutralizing, or in any way responding to
or assessing the effects of:

1) wet rot; dry rot, a bacterium; a
fungus, including but not limited to
mildew and mold; or a protist,
including but not limited to algae and
slime mold; or

2) achemical, matter, ora compound
produced or released by wet rot, dry
rot, a bacterium, a fungus, or a
protist, including but not limited to
toxins, spores, fragments, and
metabolites such as microbial volatile
organic compounds.

2. However, exclusion 1.a. above does not
apply to:

a. "bodily injury” that results from a fungus
cultivated or harvested for human
consumption or a food-bome or
beverage-borne bacterium that causes
iliness commonly known as food
poisoning (Food-bome or beverage-
borne bacteria that cause illness
commonly known as food poisoning
include but are not limited to
Staphylococcus aureus, Salmonella,
Clostridium perfringens, Campylobacter,
Listeria monocytogenes, Vibro
parahaemolyticus, Bacillus cereus, and
Escherichia coli.); or

b. “bodily injury” suffered by an “employee”
of an “insured” while performing duties in
connection with the "insured’s” farming
operations, but only to the extent that
“bodily injury” to an “insured’s”
“employees” is covered by this policy.

GL 0348 06 02

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AAIS This endorsement changes the Commercial
GL 0163 01 08 Liability Coverage provided by this policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY --

EXCLUSION -- WAR AND MILITARY ACTION

The Commercial Liability Coverage is amended as follows:

EXCLUSIONS

The exclusion relating to injury or damage that arises out of war is deleted and
replaced by the following:

"We" do not pay for “bodily injury" or "property damage" (or “personal injury" or
“advertising injury", if provided by the Commercial Liability Coverage) caused F
directly or indirectly by the following:

a. war, including undeclared or civil war; or

b. warlike action by a military force, including action in hindering or defending
against an actual or expected attack, by any government, sovereign, or other
authority using military personnel or other agents, or

c. insurrection, rebellion, revolution, usurped power, or action taken by
governmental authority in hindering or defending against any of these.

GL 0163 01 08

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AAIS This endorsement changes the Commercial
GL-894 Ed 2.0 Liability coverages provided by this policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY -

PUNITIVE DAMAGES EXCLUSION

The Commercial Liability Coverage is amended as follows:

EXCLUSIONS

The following exclusion is added:

"We' do not pay for punitive, exemplary, or vindictive "damages".

GL-894 Ed 2.0

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AAIS

This endorsement changes the Commercial GL-890
Liability Coverages provided by this policy Ed 1.0

— PLEASE READ THIS CAREFULLY --

LEAD LIABILITY EXCLUSION

The Commercial Liability Coverage is amended as
follows:

EXCLUSIONS THAT APPLY TO
ALL COVERAGES

The following are added:
We do not pay for:

4. actual or alleged bodily injury arising out of the
ingestion, inhalation or absorption of lead in any
form;

2, actual or alleged property damage (or personal
injury or advertising injury, if provided by the
Commercial Liability Coverage) arising out of any
form of lead;

GL-890 Ed 1.0

3. any loss, cost or expense arising out of any request,

demand or order that any insured or others test for,
monitor, clean up, remove, contain, treat, detoxify or
neutralize or in any way respond to or assess the
effects of lead; or

. any loss, cost or expense arising out of any claim or

suit by or on behalf of any governmental authority for
damages resulting from testing for, monitoring,
cleaning up, removing, containing, treating,
detoxifying or neutralizing or in any way responding
to or assessing the effects of lead.

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AAIS This endorsement changes the Commercial
GL 1023 09 09 Liability Coverage provided by this policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY --

EXCLUSION -- COMMUNICABLE DISEASE

The Commercial Liability Coverage is amended b. failure to prevent the spread of the

as follows. All other “terms” of the policy apply, communicable disease;

except as amended by this endorsement.

c. hiring, supervising, training, employing,
or monitoring. of others who may be
infected with and spread a

EXCLUSIONS communicable disease; or

d. testing or failure to test for a
communicable disease.

The following exclusions are added:

2. "We" do not pay for any loss, cost, or

4. "We" do not pay for "bodily injury" or expense arising out of any:

"property damage" (or "personal injury" or
“advertising injury", if provided by the
Commercial Liability Coverage) that arises
out of the actual or alleged transmission of a
communicable disease by:

a. request, demand, or order that any
“insured” or others test for, monitor,
report, clean up, remove, contain, treat,
detoxify, disinfect, sterilize, neutralize, or
in any way respond to, assess the
effects of, or eliminate a communicable
disease or the conditions to which a
communicable disease is attributed; or

a. aperson,

b, an "insured's” property, including

“products"; or
: b. claim or suit by or on behalf of any
c. the property of others in the care, 7 : .
custody, ry Oral of an “insured”. governmental body or authority relating
, to testing for, monitoring, reporting,
This exclusion applies even if the claim or cleaning up, Femoving, containing,
suit against any "insured" alleges ee Se Te: disinfecting,

. ; ee . sterilizing, neutralizing, or in any way
negligence or other improper action in the: responding to, assessing the effects of,
a. failure to report the communicable or eliminating a communicable disease

“ Stince or the conditions to which a
disease to proper authorities; communicable disease is attributed.
GL 1023 09 09

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AAIS This endorsement changes the Commercial
GL 1022 09 09 Liability Coverage provided by this policy

Page 1 of 1 -- PLEASE READ THIS CAREFULLY --

INFORMATION DISTRIBUTION AND
RECORDING VIOLATIONS EXCLUSION

The Commercial Liability Coverage is amended as follows. All other "terms" of
the policy apply, except as amended by this endorsement.

EXCLUSIONS

The following exclusion is added:

"We" do not pay for “bodily injury" or “property damage" (or "personal injury" or
“advertising injury’, if provided by the Commercial Liability Coverage) arising
directly or indirectly out of violations of or alleged violations of:

a. the Telephone Consumer Protection Act of 1991 (TCPA), including any
amendments thereto, and any similar federal, state, or local laws,
ordinances, statutes, or regulations;

b. the CAN-SPAM Act of 2003, including any amendments thereto, and any
similar federal, state, or local laws, ordinances, statutes, or regulations;

c. the Fair Credit Reporting Act (FCRA), including any amendments thereto,
such as the Fair and Accurate Credit Transaction Act (FACTA), and any
similar federal, state, or local laws, ordinances, statutes, or regulations; or

d. any other federal, state, or local faw, regulation, statute, or ordinance that
restricts, prohibits, or otherwise pertains to the collecting, communicating,
recording, printing, transmitting, sending, disposal, or distribution of material
or information.

GL 1022 09 09

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AAIS This endorsement changes
CL 0118 01 01 the policy
Page 1 of 2 -- PLEASE READ THIS CAREFULLY --

AMENDATORY ENDORSEMENT
TENNESSEE

1. Under Common Policy Conditions,

Cancellation is deleted and replaced by the
following:

Cancellation or Nonrenewal — "You" may
cancel this policy by returning the policy to
"us" or by giving "us" a written notice and
stating at what future date coverage is to
stop.

"We" may cancel or not renew this policy, or
one or more of its parts, by written notice
mailed or delivered to "you" and "your" agent
at the addresses shown in the policy. The
notice will state the reason for cancellation or

nonrenewal and the time that the cancellation

is to take effect. Proof of mailing will be
sufficient proof of notice.

If this policy has been in effect less than 60
days, "we" may cancel for any reason.

If this policy has been in effect 60 days or
more, or if it is a renewal of a policy issued by
"us", "we" may cancel this policy only on its
annual anniversary date unless one or more
of the following reasons apply:

a. nonpayment of premium, including
nonpayment of any additional premiums,
calculated in accordance with “our”
current rating manual, justified by a
physical change in the insured property
or a change in its occupancy or use,

b. "your" conviction of a crime having as
one of its necessary elements an act
increasing any hazard insured against;

c. discovery of fraud or material
misrepresentation on the part of either of
the following:

4) "you" or "your" representative in
obtaining the insurance; or

2) "you" in pursuing a claim under the
policy;

d. failure to comply with written loss control
recommendations;

e. material change in the risk which
increases the risk of loss after insurance
coverage has been issued or renewed;

f. determination by the Commissioner that
the continuation of the policy would
jeopardize “our" solvency or would place
“us" in violation of the insurance laws of
this state or any other state;

g. “your” violation or breach of any policy
"terms" or conditions; or

h. such other reasons that are approved by
the Commissioner.

if "we" cancel this policy, "we" will give "you"
and "your" agent notice at least ten days
before cancellation is effective.

"Your" retum premium, if any, will be
calculated according to “our” rules. It will be

_ refunded to "you" with the cancellation notice

or within a reasonable time. Payment or
tender of the unearned premium is not a
condition of cancellation.

If "we" decide not to renew this policy, "we"
will give "you" and "your" agent notice at least
60 days before the expiration date of the
policy.

Notice of nonrenewal is not required if "we"
have offered to issue a renewal policy, or
"you" have obtained replacement coverage or
have agreed in writing to obtain replacement
coverage.

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AAIS
CL 0118 01 01
Page 2 of 2
2. Under Common Policy Conditions, the b. reduction of “limits” or elimination of
following condition is added: coverages;
Renewal — If we" decide to renew this policy “we" will give notice stating the new “terms” at
subject to: least 60 days prior to the expiration date.
“Our' notice will be mailed or delivered to
a. an increase in premium rates or factors "you" at the address on the policy, and to
in excess of 25%; or “your” agent.

CL. 0118 01 01

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AAIS This endorsement changes the Commercial
GL 0718 10 05 Liability Coverage provided by this policy
-- PLEASE READ THIS CAREFULLY --
ADDITIONAL INSURED

DESIGNATED PERSON OR ORGANIZATION

(Entries required to complete the Schedule
will be shown below or on the "declarations".)

SCHEDULE

Person or Organization designated as Additional Insured:
Wells Fargo Affordable Housing

ISAA ATIMA, Charlotte, NC: 282880173
Designated Interests: 1311 Bertie Rand St, Knoxville, TN 37920

eee . Schedule Continued On Next Page
The Commercial Liability Coverage is amended as follows:

Under Definitions, the definition of "insured" is amended to include each person
or organization shown in the Schedule as an additional insured, but only with
respect to such person's or organization's liability for “bodily injury” or “property
damage" (or “personal injury" or “advertising injury", if provided by the
Commercial Liability Coverage) caused, in whole or in part, by "your" acts or
omissions or the acts or omissions of those acting on "your" behalf:

1. in the performance of "your" ongoing work;
2. in connection with "your" premises; or

3. in connection with other designated interests, if shown in the Schedule.

GL 0718 10 05

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AAIS This ear @rdt EG CoQHDYciai

GL 0718 10 05 Liability Coverage provided by this policy
-- PLEASE READ THIS CAREFULLY --
Policy Number: HEICL-205802-163574-2016

Policy Effective Date: 09/20/2016

Designated Interests
1311 Bertie Rand St, Knoxville, TN 37920
1311 Bertie Rand St, Knoxville, TN 37920

GL 0718 10 05 Copyright, American Association of Insurance Services, Inc., 2005 Page 2 of 2

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AAIS This endorsement changes the Commercial
GL 0718 10 05 Liability Coverage provided by this policy
-- PLEASE READ THIS CAREFULLY --
ADDITIONAL INSURED

DESIGNATED PERSON OR ORGANIZATION

(Entries required to complete the Schedule
will be shown below or on the "declarations".

SCHEDULE

Person or Organization designated as Additional Insured:
Wells Fargo Bank, N.A. as Master Servicer D1118-02W

4525 West WT Harris Blvd., Charlotte, NC 28262
Designated Interests: 1311 Bertie Rand St, Knoxville, TN 37920

Co . Schedule Continued On Next Page
The Commercial Liability Coverage is amended as follows:

Under Definitions, the definition of "insured" is amended to include each person
or organization shown in the Schedule as an additional insured, but only with
respect to such person's or organization's liability for “bodily injury” or “property
damage" (or “personal injury" or “advertising injury", if provided by the
Commercial Liability Coverage) caused, in whole or in part, by "your" acts or
omissions or the acts or omissions of those acting on "your" behalf:

4. in the performance of "your" ongoing work,
2. in connection with "your" premises, or

3. in connection with ather designated interests, if shown in the Schedule.

GL 0718 10 05

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GL. 0718 10 05 Liability Coverage provided by this policy
-- PLEASE READ THIS CAREFULLY --
Policy Number: HEICL-205802-163574-2016

Policy Effective Date: 09/20/2016

. Designated Interests
1311 Bertie Rand St, Knoxville, TN 37920
1311 Bertie Rand St, Knoxville, TN 37920

GL 0718 10 05 Copyright; American Association of Insurance Services, Inc., 2005 Page 2 of 2

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HAPN 4030 12 14

IMPORTANT NOTICE TO POLICYHOLDERS PRODUCERS .
COMPENSATION DISCLOSURE

THIS NOTICE DOES NOT AMEND ANY PROVISION OF OR AFFORD ANY
COVERAGE UNDER YOUR POLICY. YOU SHOULD REVIEW YOUR ENTIRE POLICY
CAREFULLY FOR COMPLETE INFORMATION ON THE COVERAGES PROVIDED
AND TO DETERMINE YOUR RIGHTS AND DUTIES UNDER YOUR POLICY. IF THERE
IS ANY CONFLICT BETWEEN YOUR POLICY PROVISIONS AND THIS NOTICE, THE
PROVISIONS OF YOUR POLICY PREVAIL. PLEASE CO NTACT YOUR AGENT OR
BROKER IF YOU HAVE ANY QUESTIONS ABOUT THIS NOTICE OR ITS CONTENTS.

HAI Group is a registered trademark for our family of insurance companies

Housing Insurance Services (HIS) represents our insurance companies and in such capacity will
provide services to you relating to your insurance coverage.

HIS will receive compensation from the insurance company if you choose to purchase the
proposed coverage.

In many cases, HIS will obtain proposals from other insurers offering coverage in
connection with the insurance programs. You may obtain more information about the
compensation expected to be received by HIS, and the compensation expected to be
received based in whole or in part on any alternative quotes by requesting such
information from HIS —Agency Operations Department, at 203-272-8220 or 1-800-873-0242.

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HAPN 1408 02 10

POLICYHOLDER NOTICE
- EXCLUSION - COMMUNICABLE DISEASE

This Notice provides information about changes to the terms of your policy. No coverage is
provided by this Notice, nor does it replace any provisions of your policy. You should read
your policy and review your declarations page for complete information regarding the
coverages you are provided. If there are any discrepancies between your policy and this
Notice, THE PROVISIONS OF THE POLICY GOVERN.

If your policy includes endorsement GL 1023, there is no coverage for bodily injury, property
damage, personal injury, or advertising injury that arises out of the actual or alleged
transmission of a communicable disease by a person, an insured's property (including
products), or the property of others in the care, custody, or control of an insured. Coverage is
also excluded for any loss, cost, or expense arising out of any request, demand, order, claim,
or suit that results from a communicable disease or the conditions to which a communicable
disease is attributed.

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ay HAI Group
HAPN 0012 01 15

NOTICE TO POLICYHOLDERS

Terrorism Insurance Excluded

This Notice has been prepared in conjunction with the implementation of changes related to terrorism
coverage under your policy.

This Notice does not form a part of your insurance contract. The Notice is designed to alert you to
coverage restrictions and to other provisions in the terrorism endorsement in this policy. If there is any
conflict between this Notice and the policy (including its endorsements), the provisions of the policy
(including its endorsements) apply.

Carefully read your policy, including the endorsements attached to your policy.
The Terrorism Risk Insurance Program (TRIP) has been extended through December 31, 2020.
Before your policy was issued, as required by TRIP, we gave you written opportunity to accept or reject
coverage for certified acts of terrorism, as defined by that law. You subsequently rejected terrorism
coverage by signing the form we provided.
We want you to be aware that:

1. Your rejection of terrorism coverage means that you have no coverage for certified acts

of terrorism, whether done by citizens of this or citizens of foreign countries, as stated

in the terrorism exclusion endorsement that is part of your policy.

2. Acts of terrorism are certified by the Secretary of the Treasury, in consultation with the
Secretary of Homeland Security, and the Attorney General of the United States.

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